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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

THE JAMES MADISON PROJECT       *
1250 Connecticut Avenue, N.W.   *
Suite 700                       *
Washington, D.C. 20036          *
                                *
       and                      *
                                *
BRIAN J. KAREM                  *
22 West Jefferson Street        *
Suite 309                       *    Civil Action No: 22-_______
Rockville, Maryland 20855       *
                                *
       Plaintiffs,              *
                                *
       v.                       *
                                *
CENTRAL INTELLIGENCE AGENCY     *
Washington, D.C. 20301-1000     *
                                *
       Defendant.               *
*      *       *      *   * *   *    *      *      *      *      *
                            COMPLAINT

   This is an action under the Freedom of Information Act (“FOIA”), 5 U.S.C. § 552,

et seq., as amended, for expedited processing of agency records sought by the Plaintiffs

The James Madison Project and Brian J. Karem from the Defendant Central Intelligence

Agency.

                                    JURISDICTION

   1. This Court has jurisdiction over this action pursuant to 5 U.S.C. § 552(a)(4)(B)

and 28 U.S.C. § 1331.

                                        VENUE

   2. Venue is appropriate in this District under 5 U.S.C. § 552(a)(4)(B) and 28 U.S.C.

§ 1391.
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                                          PARTIES

   3. Plaintiff The James Madison Project (“JMP”) is a non-partisan organization

established in 1998 to promote government accountability and the reduction of secrecy,

as well as educating the public on issues relating to intelligence and national security.

   4. Plaintiff Brian J. Karem (“Karem”) is an award-winning investigative reporter

and is an acknowledged representative of the news media.

   5. Defendant Central Intelligence Agency (“CIA”) is an agency within the meaning

of 5 U.S.C. § 552(f), and is in possession and/or control of the records that were

requested by the Plaintiffs in this action.

                                              FACTS

   6. This FOIA lawsuit seeks expedited processing, and eventual production, of

requested non-exempt U.S. Government records. This lawsuit continues ongoing efforts

to bring needed transparency surrounding the Defendant’s knowledge of Unidentified

Health Incidents (“UHI”) involving U.S. Government officials. Specifically, the records

sought in this lawsuit concern the CIA’s intelligence assessment (the “Assessment”)

regarding the source of UHIs.

   7. In recent years, more than two hundred U.S. Government officials who were

based in multiple countries, including domestically within the Washington, D.C.

metropolitan area, have reported UHIs. See e.g., New York Times, Biden Signs

Legislation to Compensate Victims of Mysterious ‘Havana Syndrome’, October 8, 2021,

https://www.nytimes.com/2021/10/08/ us/politics/havana-syndrome-biden-law.html (last

accessed February 4, 2022); BBC News, “‘Havana syndrome ’ and the mystery of the

microwaves,” BBC News, September 9, 2021, https://www.bbc.com/news/world-

58396698 (last accessed February 4, 2022); Arstechnica, “US Intelligence thinks Russia

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may have microwaved US embassies in Cuba, China,” September 11, 2018,

https://arstechnica.com/tech-policy/2018/09/us-intelligence-thinks-russia-may-have-

microwaved-us-embassies-in-cuba-china/ (last accessed February 4, 2022); New York

Times, “Microwave Weapons Are Prime Suspect in Ills of U.S. Embassy Workers,”

September 1, 2018, https://www.nytimes.com/2018/09/01/science/sonic-attack-cuba-

microwave.html (last accessed February 4, 2022).

   8. On January 19, 2022, media reporting announced that CIA believes most cases of

UHIs are unlikely to have been caused by a foreign adversary. Instead, the Assessment

asserted the majority of 1,000 cases of UHIs can be explained by other causes rather than

a sustained global campaign by a foreign power. (a) https://www.nbcnews.com/

politics/national-security/cia-says-havana-syndrome-not-result-sustained-global-

campaign-hostile-rcna12838 (last accessed February 4, 2022); (b) https://www.ny

times.com/2022/01/20/us/ politics/havana-syndrome-cia-report.html (last accessed

February 4, 2022); (c) https://www.msn.com/en-us/news/world/cia-says-havana-

syndrome-not-result-of-sustained-global-campaign-by-hostile-power/ar-AASXrM5?

ocid=uxbndlbing (last accessed February 4, 2022); (d) https://www.washingtonpost.com/

national-security/cia-havana-syndrome-investigation-russia/2022/01/20/2f86d89e-795c-

11ec-bf97-6eac6f77fba2_story.html (last accessed February 4, 2022); (e) https://www.

bbc.com/news/ world-us-canada-60068483 (last accessed February 4, 2022);

(f) https://www.cnn.com/2022/01/20/politics/havana-syndrome-illness-cia-report/

index.html (last accessed February 4, 2022); (g) https://www.foxnews.com/politics/cia-

interim-report-havana-syndrome-not-from-hostile-power-campaign-critics (last accessed

February 4, 2022); (h) https://www.politico.com/news/2022/01/20/havana-syndrome-cia-

congress-527527 (last accessed February 4, 2022).

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   9. Although the Assessment was widely described as an “interim” report, it actually

was not. A U.S. intelligence official told USA TODAY that while the report is

technically classified as an interim assessment, it is a definitive and official agency

finding based on months of intensive investigation into what was widely believed to be a

sustained attack on U.S. spies and diplomats overseas by a hostile foreign power.

https://www.usatoday.com/story/news/2022/01/20/havana-syndrome-cia-finds-no-

campaign-hostile-foreign-power/6591297001/ (last accessed February 4, 2022).

   10. On February 2, 2022, the Office of the Director of National Intelligence

(“ODNI”) announced that a panel convened by the U.S. intelligence community had

concluded the core symptoms of unsolved UHIs could be caused by pulsed

electromagnetic or ultrasonic energy. A declassified executive summary of the

intelligence community’s assessment found the effects of the mysterious illness are

“genuine and compelling”, and that psychological factors or mass hysteria on their own

could not account for the core characteristics of UHIs. The announcement came one day

after President Joe Biden designated senior National Security Council official Maher

Bitar as the governmentwide coordinator for UHIs. https://www.politico.com/news/2022/

02/02/directed-energy-unsolved-havana-syndrome-00004799 (last accessed February 2,

2022); https://www.nbc news.com/politics/national-security/havana-syndrome-symptoms-

small-group-likely-caused-directed-energy-say-rcna14584 (last accessed February 2,

2022); https://www.washington post.com/national-security/2022/02/02/external-energy-

source-may-explain-havana-syndrome-panel-finds-renewing-questions-about-possible-

foreign-attack/ (last accessed February 2, 2022); https://www.nytimes.com/2022/02/02/

us/politics/havana-syndrome-radio-energy.html (last accessed February 2, 2022).



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    11. The American public deserves to have a straight answer from the U.S.

Government regarding UHIs and the impact that has been felt by U.S. Government

personnel. The different assessment from the CIA in contrast to the rest of the U.S.

intelligence community instead only brings confusion and conflicting consensus. The

public has a right to learn how the CIA reached its findings in the Assessment and

determine for itself why those findings differ in some respects from the panel convened

by the intelligence community.

                FIRST CAUSE OF ACTION (EXPEDITED PROCESSING)

    12. The plaintiffs, JMP and Karem (hereinafter referred to jointly as the “Plaintiffs”),

repeat and reallege the allegations contained in paragraphs 6 through 11 above, inclusive.

    13. By letter dated January 21, 2021, the Plaintiffs submitted a FOIA request to CIA

that sought copies of all records in the possession or control of the CIA, including cross-

references, regarding the issuance of the Assessment. Specifically, the Plaintiffs sought:

1) A copy of the Assessment; 2) All intelligence information relied upon in formulating

conclusions in the Assessment; 3) All factual, medical and/or scientific findings made in

the course of formulating the conclusions in the Assessment; and 4) All documentation

memorializing talking points and briefing notes for U.S. Government personnel

discussing the Assessment with media outlets, individual Members of Congress or staff

with the House Permanent Select Committee on Intelligence/Senate Select Committee on

Intelligence.

    14. The FOIA request noted the Plaintiffs were asking for expedited processing and

pursuant to statute and the Defendant’s regulations provided sufficient information to

justify their request.



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   15. By letter dated February 7, 2022, the CIA denied expedited processing. The

request was designated as F-2022-00653.

   16. The Plaintiffs have exhausted all required administrative remedies to seek

expedited processing.

   WHEREFORE, Plaintiffs The James Madison Project and Brian J. Karem request

that the Court award them the following relief:

   (1) Order the Defendant to grant the Plaintiffs expedited processing for their request;

   (2) Award reasonable costs and attorney’s fees as provided in 5 U.S.C. § 552(a)(4)(E)

and/or 28 U.S.C. § 2412(d);

   (3) Expedite this action in every way pursuant to 28 U.S.C. § 1657(a); and

   (4) Grant such other relief as the Court may deem just and proper.

Date: February 7, 2022
                                             Respectfully submitted,

                                                    s/Mark S. Zaid
                                             __________________________
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